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      In The United States Court of Federal Claims
                                          No. 05-296 T

                                      (Filed: April 11, 2008)
                                            __________

 GRAPEVINE IMPORTS, LTD., A TEXAS
 LIMITED PARTNERSHIP, T-TEK, INC. A
 TEXAS CORPORATION, AS TAX
 MATTERS PARTNER,

                        Plaintiffs,

        v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                            ORDER
                                           __________

      On March 31, 2008, the parties filed a joint motion for entry of judgment in this case.
The motion is hereby GRANTED.

       The Clerk is directed to dismiss the claims involving the 1999 federal income tax liability
pursuant to the July 17, 2007 opinion.

       Pursuant to the joint motion for entry of judgment, as parties have settled the claims
involving the year 2000 federal income tax liability, the Clerk is directed to enter judgment for
dismissal pursuant to RCFC 58.

       IT IS SO ORDERED.


                                                             s/ Francis M. Allegra
                                                             Francis M. Allegra
                                                             Judge
